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                   1   LATHAM & WATKINS LLP                         LAWYERS’ COMMITTEE FOR
                        Steven M. Bauer (Bar No. 135067)            CIVIL RIGHTS UNDER LAW
                   2       steven.bauer@lw.com                       Kristen Clarke (pro hac vice pending)
                        Sadik Huseny (Bar No. 224659)                   kclarke@lawyerscommittee.org
                   3       sadik.huseny@lw.com                       Jon M. Greenbaum (Bar No. 166733)
                        Amit Makker (Bar No. 280747)                    jgreenbaum@lawyerscommittee.org
                   4       amit.makker@lw.com                        Ezra D. Rosenberg (admitted pro hac vice)
                        Shannon D. Lankenau (Bar No. 294263)            erosenberg@lawyerscommittee.org
                   5      shannon.lankenau@lw.com                    Dorian L. Spence (pro hac vice forthcoming
                       505 Montgomery Street, Suite 2000                dspence@lawyerscommittee.org
                   6   San Francisco, CA 94111                       Ajay P. Saini (admitted pro hac vice)
                       Telephone: 415.391.0600                          asaini@lawyerscommittee.org
                   7   Facsimile: 415.395.8095                       Maryum Jordan (Bar No. 325447)
                                                                         mjordan@lawyerscommittee.org
                   8   LATHAM & WATKINS LLP                          Pooja Chaudhuri (Bar No. 314847)
                        Richard P. Bress (pro hac vice)                 pchaudhuri@lawyerscommittee.org
                   9       rick.bress@lw.com                        1500 K Street NW, Suite 900
                        Melissa Arbus Sherry (pro hac vice)         Washington, D.C. 20005
               10          melissa.sherry@lw.com                    Telephone: 202.662.8600
                        Anne W. Robinson (pro hac vice)             Facsimile: 202.783.0857
               11           anne.robinson@lw.com
                        Tyce R. Walters (pro hac vice)              Additional counsel and representation
               12          tyce.walters@lw.com                      information listed in signature block
                        Genevieve P. Hoffman (pro hac vice)
               13          genevieve.hoffman@lw.com
                        Gemma Donofrio (pro hac vice)
               14          gemma.donofrio@lw.com
                       555 Eleventh Street NW, Suite 1000
               15      Washington, D.C. 20004
                       Telephone: 202.637.2200
               16      Facsimile: 202.637.2201

               17                              UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
               18                                    SAN JOSE DIVISION

               19      NATIONAL URBAN LEAGUE, et al.,               CASE NO. 5:20-cv-05799-LHK
               20                                     Plaintiffs,   PLAINTIFFS’ MOTION FOR
               21                   v.                              TEMPORARY RESTRAINING ORDER
                                                                    PENDING RULING ON PLAINTIFFS’
               22      WILBUR L. ROSS, JR., et al.,                 MOTION TO COMPEL AND FOR
                                                                    SANCTIONS
               23                                     Defendants.
                                                                    Date:    TBD
               24                                                   Time:    TBD
               25                                                   Place:   Courtroom 8
                                                                    Judge:   Hon. Lucy H. Koh
               26

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                                                                                       CASE NO. 5:20-CV-05799-LHK
ATTORNEYS AT LAW
                                                                     PLTFS.’ MOTION FOR TRO PENDING RULING ON
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                   1          As the Court knows, two minutes prior to the start of the Court’s September 28 hearing, the

                   2   Census Bureau tweeted that “[t]he Department of Commerce has announced a target date of

                   3   October 5, 2020 to conclude the 2020 Census self-response and field data collection operations.”

                   4   @USCensusBureau, https://twitter.com/uscensusbureau/status/1310685274104569856.

                   5          For the reasons set forth in Plaintiffs’ Statement In Advance of the September 29 Hearing

                   6   (Dkt. 243), and for the reasons discussed at the September 29, 2020 hearing, Plaintiffs believe that

                   7   this announcement and other materials before the Court show that Defendants have been

                   8   implementing and continue to implement the shortened timelines from the Replan in violation of

                   9   the Court’s Order Granting Plaintiffs’ Motion for Stay and Preliminary Injunction (“PI Order”)

               10      (Dkt. 208). Plaintiffs have now filed a Motion to Compel and for Sanctions which lays out these

               11      violations in greater detail and which will be briefed on an expedited schedule and heard before the

               12      Court at 3:00 PM this Friday, October 2. But Plaintiffs are concerned that there is a critical two-

               13      day window between now and October 2 where Defendants will continue to wind down or alter

               14      Census operations, or otherwise engage in closeout proceedings, including but not limited to

               15      termination of various Census field personnel. Those actions, pegged to Defendants’ current

               16      October 5 field operations “target date” which, in turn, is predicated on Defendants continuing to

               17      implement the December 31, 2020 Replan date enjoined by the Court, are happening now and

               18      threaten severe irreparable injury. As a result, Plaintiffs file this separate motion requesting a short

               19      TRO to preserve the status quo—that is, the dates set out in the COVID-19 plan—until the Court

               20      rules on Plaintiffs’ Motion to Compel and for Sanctions. As the Ninth Circuit put it in denying the

               21      Bureau’s Motion for Administrative Stay, “[g]iven the extraordinary importance of the census, it is

               22      imperative that the Bureau conduct the census in a manner that is most likely to produce a

               23      workable report in which the public can have confidence.” Dkt. 277 at 7-8.

               24             Plaintiffs have made numerous submissions regarding the severe irreparable injury faced

               25      by Plaintiffs and the nation should Defendants be allowed to truncate and prematurely wind up

               26      Census field operations—and the Court has agreed, granting Plaintiffs’ initial TRO, granting an

               27      extended TRO when Defendants failed to comply with the Court’s orders, and ultimately granting

               28      Plaintiffs’ Motion for a Stay and Preliminary Injunction (“PI Order”). See Dkt. Nos. 84, 142, 208.
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                   1   The Court also stated at the September 29 hearing that it believed, based on the evidence before it

                   2   at that time, that Defendants are currently in violation of the Court’s PI Order:
                                  From what I can see of what I’ve looked at, the Defendants are implementing
                   3              that December 31st deadline by creating this target date of October 5th, and I
                                  think that’s been enjoined. And I think a target date for data collection that is
                   4              predicated on an enjoined date is a violation of my order.
                   5   9/29 Tr. at 31:7-12. Thus, Plaintiffs believe that all of the elements necessary for a temporary

                   6   restraining order have already been definitively established. But three additional points bear

                   7   specific mention.

                   8          First, the statements made by Defendants at the September 29 hearing demonstrate that

                   9   Defendants do not see the Court’s PI Order as limiting in any sense their ability to alter or wind-

               10      down field operations now in connection with their announced October 5 “target date.” This is

               11      because Defendants feel they should be allowed to terminate such operations now, notwithstanding

               12      the Court’s orders, ostensibly as “contingency planning” should (as Defendants hope) the Court’s

               13      order later be overturned. Defendants were perfectly clear:
                                  Our position is that contingency planning for something that might happen in
               14                 the future is not a violation of this Order. So I’ll make that perfectly clear.
                                  Contingency planning for the reimposition of the December 31st date, which
               15                 is a very real possibility and it’s something that the Commerce Department
                                  has to think about, is not a violation of the order.
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                       9/29 Tr. at 31:25-32:5. This is astonishingly wrong. A contingency plan is just that—contingent.
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                       Thus, it would only operate if a predicate were met. Defendants have stated that the October 5
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                       date, put in place to meet the enjoined date of December 31, 2020—is their actual plan right now;
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                       it is not contingent on anything. Defendants’ statement about “contingency planning” means that
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                       they have unilaterally decided to make compliance with the Court’s PI Order the contingency
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                       plan. That they cannot do. But it makes clear that Defendants have no intention of voluntarily
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                       coming into compliance with this Court’s order before Friday’s hearing.
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                              Second, yesterday evening Defendants submitted an unredacted document that shows
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                       Plaintiffs were right to worry that Defendants’ one-sentence tweet and press release meant a
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                       continuation of the truncated timelines enjoined by the Court. As the Court knows, Defendants
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                       mentioned nothing about the enjoined December 31, 2020 deadline when sending out their
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                       message about the new “target date” to end field operations. And as highlighted above, the Court
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                   1   flagged that its review of materials before it indicated that Defendants were “implementing that

                   2   December 31st deadline by creating this target date of October 5th, and I think that’s been

                   3   enjoined.” 9/29 Tr. at 31:8-10. The redacted and now unredacted email exchange with the

                   4   Secretary of Commerce is stark:

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               23      Compare Dkt. 233 at 152-53 with Dkt. 256-1 at 1-2. Ending field operations early so that

               24      Defendants can implement the Replan’s December 31 deadline plainly violates the Court’s order.

               25             Third, it cannot now be disputed that Defendants have failed to fully and adequately

               26      notify their employees of the Court’s prior orders in this case. As set forth in Plaintiffs’ Motion

               27      to Compel and for Sanctions, Defendants’ outreach and notification regarding the Court’s TRO,

               28      TRO extension, and PI Order was focused at the manager level, and as far as Plaintiffs are aware,

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                   1   there was no follow-up and no confirmation or indication that the message was actually

                   2   disseminated to all Census employees. See Dkt. 265 at 3-5. The Court began to receive first a

                   3   trickle and then a flood of emails and filings from Census employees complaining, among other

                   4   things, that they were not being told about the Court’s Orders, and that the Census Bureau was

                   5   not in compliance. See, e.g., Dkt Nos. 100, 214, 220, 221, 222, 229, 230, 231, 235, 238, 248,

                   6   249, 250, 252, 254, 257, 262, 268, 270, 271, 272, 273, 276. Yet, in marked contrast to how

                   7   Defendants chose to disseminate this Court’s orders, Defendants widely broadcast their new

                   8   October 5 “target date” with great precision. Just hours after the tweet, Mr. Christy “instructed

                   9   staff to send a text message to all Decennial field staff (Enumerators and CFSs) that read:

               10             A federal district court issued a preliminary injunction on 9/24. The
                              Census Bureau is complying with the Court’s Order which moves the
               11             finishing date for NRFU operations after September 30. The Secretary
                              announced today that NRFU operations will finish on October 5. We will
               12             post updated guidance on the content locker.
               13      Dkt. 234 (Christy Decl. ¶ 14). As far as Plaintiffs are aware, despite the discussion at the
               14      September 29 hearing, Defendants have done nothing to retract their text telling all Census field
               15      staff that data collection “will” end on October 5.1
               16                                                  *       *       *
               17             In light of the foregoing, Plaintiffs respectively request that the Court issue a TRO
               18      enjoining Defendants from any actions that are a result of or related to (1) the Replan’s enjoined
               19      December 31, 2020 date for reporting the tabulation of the total population to the President, or
               20      (2) any data collection or data processing timelines that are shorter than those contained in the
               21      COVID-19 Plan. Plaintiffs also respectfully request that, in light of Defendants’ demonstrated
               22      failure to adequately notify all of their employees of the Court’s Orders, the Court direct
               23      Defendants to issue a new text message to all of their employees notifying them of the Court’s
               24      ruling, stating that the October 5 date is not operative, and stating that field data collection
               25      operations remain ongoing—and provide a copy of that text to the Court once sent.
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                       1
               27       In addition, as noted in Plaintiffs’ Motion to Compel and for Sanctions, if the October 5 date is
                       not enjoined, personnel may deem households to be “complete” through the use of much-less-
               28      accurate methods of enumeration in order to meet the October 5 deadline—creating the
                       misleading impression that an accurate enumeration has already been met.
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                   1

                   2   Dated: September 30, 2020              LATHAM & WATKINS LLP

                   3                                          By: /s/ Sadik Huseny
                                                                 Sadik Huseny
                   4
                                                              Steven M. Bauer (Bar No. 135067)
                   5                                          steven.bauer@lw.com
                                                              Sadik Huseny (Bar No. 224659)
                   6                                          sadik.huseny@lw.com
                                                              Amit Makker (Bar No. 280747)
                   7                                          amit.makker@lw.com
                                                              Shannon D. Lankenau (Bar. No. 294263)
                   8                                          shannon.lankenau@lw.com
                                                              LATHAM & WATKINS LLP
                   9                                          505 Montgomery Street, Suite 2000
                                                              San Francisco, CA 94111
               10                                             Telephone: 415.391.0600
                                                              Facsimile: 415.395.8095
               11
                                                              Richard P. Bress (admitted pro hac vice)
               12                                             rick.bress@lw.com
                                                              Melissa Arbus Sherry (admitted pro hac vice)
               13                                             melissa.sherry@lw.com
                                                              Anne W. Robinson (admitted pro hac vice)
               14                                             anne.robinson@lw.com
                                                              Tyce R. Walters (admitted pro hac vice)
               15                                             tyce.walters@lw.com
                                                              Genevieve P. Hoffman (admitted pro hac vice)
               16                                             genevieve.hoffman@lw.com
                                                              Gemma Donofrio (admitted pro hac vice)
               17                                             gemma.donofrio@lw.com
                                                              LATHAM & WATKINS LLP
               18                                             555 Eleventh Street NW, Suite 1000
                                                              Washington, D.C. 20004
               19                                             Telephone: 202.637.2200
                                                              Facsimile: 202.637.2201
               20
                                                              Attorneys for Plaintiffs National Urban League;
               21                                             League of Women Voters; Black Alliance for
                                                              Just Immigration; Harris County, Texas; King
               22                                             County, Washington; City of San Jose,
                                                              California; Rodney Ellis; Adrian Garcia; and
               23                                             the NAACP
               24
                       Dated: September 30, 2020              By: /s/ Jon M. Greenbaum
               25                                             Kristen Clarke (pro hac vice pending)
                                                              kclarke@lawyerscommittee.org
               26                                             Jon M. Greenbaum (Bar No. 166733)
                                                              jgreenbaum@lawyerscommittee.org
               27                                             Ezra D. Rosenberg (admitted pro hac vice)
                                                              erosenberg@lawyerscommittee.org
               28                                             Dorian L. Spence (pro hac vice forthcoming)

                                                                                   CASE NO. 5:20-CV-05799-LHK
ATTORNEYS AT LAW
                                                          5      PLTFS.’ MOTION FOR TRO PENDING RULING ON
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                   1                                          dspence@lawyerscommittee.org
                                                              Maryum Jordan (pro hac vice forthcoming)
                   2                                          mjordan@lawyerscommittee.org
                                                              Ajay Saini (admitted pro hac vice)
                   3                                          asaini@lawyerscommitee.org
                                                              Pooja Chaudhuri (Bar No. 314847)
                   4
                                                              pchaudhuri@lawyerscommittee.org
                   5                                          LAWYERS’ COMMITTEE FOR CIVIL
                                                              RIGHTS UNDER LAW
                   6                                          1500 K Street NW, Suite 900
                                                              Washington, DC 20005
                   7                                          Telephone: 202.662.8600
                                                              Facsimile: 202.783.0857
                   8
                                                              Attorneys for Plaintiffs National Urban League;
                   9                                          City of San Jose, California; Harris County,
                                                              Texas; League of Women Voters; King County,
               10                                             Washington; Black Alliance for Just
               11                                             Immigration; Rodney Ellis; Adrian Garcia; the
                                                              NAACP; and Navajo Nation
               12
                                                              Wendy R. Weiser (admitted pro hac vice)
               13                                             weiserw@brennan.law.nyu.edu
                                                              Thomas P. Wolf (admitted pro hac vice)
               14                                             wolf@brennan.law.nyu.edu
                                                              Kelly M. Percival (admitted pro hac vice)
               15                                             percivalk@brennan.law.nyu.edu
                                                              BRENNAN CENTER FOR JUSTICE
               16                                             120 Broadway, Suite 1750
                                                              New York, NY 10271
               17
                                                              Telephone: 646.292.8310
               18                                             Facsimile: 212.463.7308

               19                                             Attorneys for Plaintiffs National Urban League;
                                                              City of San Jose, California; Harris County,
               20                                             Texas; League of Women Voters; King County,
                                                              Washington; Black Alliance for Just
               21                                             Immigration; Rodney Ellis; Adrian Garcia; the
                                                              NAACP; and Navajo Nation
               22
                                                              Mark Rosenbaum (Bar No. 59940)
               23                                             mrosenbaum@publiccounsel.org
               24                                             PUBLIC COUNSEL
                                                              610 South Ardmore Avenue
               25                                             Los Angeles, California 90005
                                                              Telephone: 213.385.2977
               26                                             Facsimile: 213.385.9089

               27                                             Attorneys for Plaintiff City of San Jose
               28

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ATTORNEYS AT LAW
                                                          6      PLTFS.’ MOTION FOR TRO PENDING RULING ON
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                   1                                          Doreen McPaul, Attorney General
                                                              dmcpaul@nndoj.org
                   2                                          Jason Searle (admitted pro hac vice)
                                                              jasearle@nndoj.org
                   3                                          NAVAJO NATION DEPARTMENT OF
                                                              JUSTICE
                   4
                                                              P.O. Box 2010
                   5                                          Window Rock, AZ 86515
                                                              Telephone: (928) 871-6345
                   6
                                                              Attorneys for Navajo Nation
                   7
                       Dated: September 30, 2020              By: /s/ Danielle Goldstein
                   8                                          Michael N. Feuer (Bar No. 111529)
                                                              mike.feuer@lacity.org
                   9                                          Kathleen Kenealy (Bar No. 212289)
                                                              kathleen.kenealy@lacity.org
               10                                             Danielle Goldstein (Bar No. 257486)
               11                                             danielle.goldstein@lacity.org
                                                              Michael Dundas (Bar No. 226930)
               12                                             mike.dundas@lacity.org
                                                              CITY ATTORNEY FOR THE CITY OF
               13                                             LOS ANGELES
                                                              200 N. Main Street, 8th Floor
               14                                             Los Angeles, CA 90012
                                                              Telephone: 213.473.3231
               15                                             Facsimile: 213.978.8312
               16                                             Attorneys for Plaintiff City of Los Angeles
               17
                       Dated: September 30, 2020              By: /s/ Michael Mutalipassi
               18                                             Christopher A. Callihan (Bar No. 203010)
                                                              legalwebmail@ci.salinas.ca.us
               19                                             Michael Mutalipassi (Bar No. 274858)
                                                              michaelmu@ci.salinas.ca.us
               20                                             CITY OF SALINAS
                                                              200 Lincoln Avenue
               21                                             Salinas, CA 93901
                                                              Telephone: 831.758.7256
               22                                             Facsimile: 831.758.7257
               23                                             Attorneys for Plaintiff City of Salinas
               24

               25

               26

               27

               28

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ATTORNEYS AT LAW
                                                          7       PLTFS.’ MOTION FOR TRO PENDING RULING ON
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                   1   Dated: September 30, 2020              By: /s/ Rafey S. Balabanian
                                                              Rafey S. Balabanian (Bar No. 315962)
                   2                                          rbalabanian@edelson.com
                                                              Lily E. Hough (Bar No. 315277)
                   3                                          lhough@edelson.com
                                                              EDELSON P.C.
                   4
                                                              123 Townsend Street, Suite 100
                   5                                          San Francisco, CA 94107
                                                              Telephone: 415.212.9300
                   6                                          Facsimile: 415.373.9435

                   7                                          Rebecca Hirsch (admitted pro hac vice)
                                                              rebecca.hirsch2@cityofchicago.org
                   8                                          CORPORATION COUNSEL FOR THE
                                                              CITY OF CHICAGO
                   9                                          Mark A. Flessner
                                                              Stephen J. Kane
               10                                             121 N. LaSalle Street, Room 600
               11                                             Chicago, IL 60602
                                                              Telephone: (312) 744-8143
               12                                             Facsimile: (312) 744-5185

               13                                             Attorneys for Plaintiff City of Chicago

               14
                       Dated: September 30, 2020              By: /s/ Donald R. Pongrace
               15                                             Donald R. Pongrace (admitted pro hac vice)
                                                              dpongrace@akingump.com
               16                                             AKIN GUMP STRAUSS HAUER & FELD
                                                              LLP
               17                                             2001 K St., N.W.
               18                                             Washington, D.C. 20006
                                                              Telephone: (202) 887-4000
               19                                             Facsimile: 202-887-4288

               20                                             Dario J. Frommer (Bar No. 161248)
                                                              dfrommer@akingump.com
               21                                             AKIN GUMP STRAUSS HAUER & FELD
                                                              LLP
               22                                             1999 Avenue of the Stars, Suite 600
                                                              Los Angeles, CA 90067-6022
               23                                             Phone: 213.254.1270
                                                              Fax: 310.229.1001
               24
                                                              Attorneys for Plaintiff Gila River Indian
               25
                                                              Community
               26

               27

               28

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                   1
                       Dated: September 30, 2020                         By: /s/ David I. Holtzman
                   2                                                     David I. Holtzman (Bar No. 299287)
                                                                         David.Holtzman@hklaw.com
                   3                                                     HOLLAND & KNIGHT LLP
                                                                         Daniel P. Kappes
                   4
                                                                         Jacqueline N. Harvey
                   5                                                     50 California Street, 28th Floor
                                                                         San Francisco, CA 94111
                   6                                                     Telephone: (415) 743-6970
                                                                         Fax: (415) 743-6910
                   7
                                                                         Attorneys for Plaintiff County of Los Angeles
                   8

                   9
                                                               ATTESTATION
               10
                               I, Sadik Huseny, am the ECF user whose user ID and password authorized the filing of this
               11
                       document. Under Civil L.R. 5-1(i)(3), I attest that all signatories to this document have concurred
               12

               13      in this filing.

               14
                       Dated: September 30, 2020                         LATHAM & WATKINS LLP
               15
                                                                         By: /s/ Sadik Huseny
               16                                                            Sadik Huseny
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